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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


                                               )
                                               )
UNITED STATES OF AMERICA,                      ) Criminal No. 1:22-cr-00015-APM
                                               )
                     v.                        ) USA v. Stewart Rhodes, et al.
                                               )
KENNETH HARRELSON                              )
                                               )
                Defendant                      )

STATUS AND PROGRESS REPORT REGARDING SUPPLEMENT TO DEFENDANT
 HARRELSON’S ECF 285 AND 267 FILING REGARDING EXPERT DISCLOSURES

 1) Not having all the discovery Defendant Harrelson is entitled to as set forth in ECF 283

    that formalized Government discovery failures including Brady information set forth in

    ECF 225, Defendant Harrelson is now positioned to make an additional supplemental

    disclosure regarding Defendant Harrelson’s anticipated expert testimony through a brief

    outline and an executive summary (Attachment One). Defendant Harrelson’s plan is to

    have a final report ready for the Government as soon as possible, but the final report will

    have the same conclusions and scope as reflected in this document only limited by the

    extent and nature of late breaking receipt of discovery compliance from the Government.

 2) In simplest terms, after reconstructing to the extent possible the most accurate context of

    events, the experts will compare and contrast objective behavior of rally attendees

    including Oath Keepers and police, and some rally attendees. In a nutshell, some

    displayed characteristics and behavior that is consistent with plans and actions or

    agreement in furtherance of a plan and others displayed behavior and characteristics that

    is inconsistent with plans and actions or agreement in furtherance of a plan. This can be

    discerned through observation of objective behavioral characteristics.
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    3) Today undersigned counsel submitted the appropriate forms for Defendant Haelson’s

        experts to access Evidence.Com. It is anticipated that access to heretofore sealed

        information will solidify and strengthen anticipated expert witness testimony outlines as

        experts are permitted to make tentative conclusions based on observable behavior by

        individual across locations.

    4) Charges related to 18 U.S.C. 1512 – Obstruction of an Official Proceeding and Aiding

        and Abetting and Preventing an Officer from Discharging Any Duties – do not apply to

        Mr. Harrelson because the Official Proceeding and acts by Members of Congress to

        discharge their duties, as well as to induce them to leave the place these duties were being

        performed, because the decisions to evacuate the House and the Senate were made before

        he entered the Capitol1 and the critical time path for clearing the Capitol and its grounds,

        which (according to official timelines) led to the decision being decided at 6:30 p.m. that

        the Capitol activities could be resumed by 7:30 p.m., was based on factors,

        considerations, and in part on what we believe was a serious USCP misunderstanding of

        the threat posed by the crowds that could not have been affected by Mr. Harrelson,

        directly or indirectly. Further, those same official timelines record that the “USCP

        secured the Senate and House chambers, along with the basement, subways, first floor,

        and crypts by 4:28 p.m” meaning that other activities had to be completed that had

        nothing to do with containing and ejecting the protestors and it is our conclusion that the

        officers required to contain and eject those protestors could not have been reassigned,


1
 US v. Cole Affidavit from the FBI Affiant relating to the time the house and senate were ordered to
evacuate/ 2:20 pm. Shortly after both house and senate were completely evacuated (See Case:
1:22−mj−00184 Assigned To: Magistrate Judge Meriweather, Robin M. Assign. Date: 8/16/2022
Description: Complaint w/ Arrest Warrant) The time given here, 2:20 p.m., can be found on page 1.
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   even if all of the participants inside the Capitol immediately left the building and stayed

   out of the building after 2:45 p.m. only a few minutes after Mr. Harrelson and other Oath

   Keepers entered.

5) Reviews of hundreds of charging documents, statements by participants freely made to

   News Media on January 6, newspaper accounts and timelines, and patterns of charges

   related to violence related charges, such as weapons enhancements, strongly support the

   conclusion that 60 percent or more of the violence was committed outside the Capitol

   building on the Lower West Terrace (including the Tunnel Archway, aptly termed by

   Officer Fanone as the “apex” of violence) as participants fought to pin down or break

   through police lines before 2:45 p.m. and then was aimed primarily after 2:45 p.m. at

   breaking through the Tunnel Archway and preventing officers from ejecting protestors

   from what the latter believed the Capitol and the Tunnel constituted “Their House”

   implying that officers had no right to force them to leave (or in the case of the Tunnel still

   keep them out). It should be noted that the President never suggested to his supporters

   that they had any special privileges that entitled them to break through police lines to

   enter “their House” or to resist police efforts to leave those premises.

6) Further, that same large set of sources appear to reveal that the mob near the House and

   the Senate on the second floor, which constituted the primary threat to the Members due

   to its proximity to where they were trapped, displayed very little violence before the

   Chambers were evacuated at 2:45 and 2:35 p.m., respectively (the same is true about

   Vice President Pence, where he was hidden first as well as his exit route). This pattern

   strongly suggests that there was no intention to accomplish any preplanned objective

   inside the Capitol except to first enter the Capitol and, once in, to reach the areas near
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        those Chambers so that the more daring of those present –- could demonstrate to make

        their voices heard by a Congress that heretofore had largely ignored their concerns about

        an allegedly stolen election.

    7) Charging documents released to the public since June 20222, which concern members of

        3%er groups appear to contain information suggesting that such groups were more likely

        to have planned or carried out an insurrection, if there was one, than the charged Oath

        Keepers.

    8) Nevertheless, the placement of bombs near both the RNC and DNC on January 5, 2021

        strongly imply that there was preplanning of sorts that involved a conspiracy with the

        intention of using these placement as a political statement against both parties – not just

        Democrats – in some coordinated fashion with the Storming of the Capitol whether that

        activity was itself coordinated or not. We conclude that the Oath Keepers were not

        involved in planning the placement of bombs nor their coordination with any activities

        associated with storming the Capitol.

    9) The official Select Committee on January 6 website at https://www.jan-6.com/january-6-

        timeline-old provides a timeline which, if it is still accurate, supports this conclusion

        about coordination because it explicitly describes a preplanning phase that is, in terms of

        its main conclusions, largely consistent with our findings.

    10) Review of charging documents, relevant case evidence held by the FBI, and what has

        been provided to date as part of discovery for the case strongly suggests that the evident

        lack of a written plan to conduct an insurrection on their part to date is due to there being

        no plan at all due, in our judgement, to their apparent technical incompetence at creating

2
  Ibid. See especially the discussion about the B Squad and the more than 40 other members of B SQUAD that
stayed on the same floor of that hotel on January 5, 2021. See page 4.
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   any coherent plan beyond a Personal Security Detail Operations Plan of 1 to 2 pages.

   Beyond their Personal Security responsibilities that day, they appear to have been waiting

   passively for direction from the President when and if he had invoked the Insurrection

   Act and had called for civilian volunteers, which one would suspect was never a serious

   consideration on his part.

11) Dr. Snell’s Qualifications: While working at Sandia National Laboratory between 1979

   and 2019 for the Department of Energy and, through them, for the Department of

   Defense at certain times, among other things he led a multi-year Laboratory-Directed

   Research and Development project, that he believes to still be technically state of the art

   even when he retired in 2019, that examined probable adversary planning steps for

   terrorist attacks, each in detail by itself, in order to analyze precisely how adversaries

   with specified knowledge and capabilities could be defeated or detected due to that step.

   The combination of the results of this project combined with other technical professional

   skills he gained over that nearly 40 years career before he retired, leads him to technically

   assess that he still remains among the top 5 experts in the world at being able to create his

   own and to positively critique others’ terrorist threat attack plans for analysis to

   determine if they could realistically succeed in evading those countermeasures and still

   be considered by expert attackers to be reasonably successful to the extent that they could

   be candidates for further analysis by security analysts through the application of such

   analysis tools such as tabletop exercises, computer modeling and simulation, and field

   exercises. He cites as just one document incorporating his expertise the International

   Atomic Energy Agency’s (IAEA’s) Nuclear Security Assessment Methodologies for

   Regulated Facilities: Final Report of a Coordinate Research Project (TECDOC 1868)
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   which documents the results of an IAEA sponsored research project he served as the

   technical lead for.

12) Sergeant Hill’s Qualifications: Steven Hill is a retired Systems Engineer with

   Transportation Systems Analysis at Sandia National Laboratories (SNL). At SNL, Steve

   was a member of the Security Training and Risk Analysis Team (STRAT) where he built

   response related training programs and conducted security analysis in the areas of

   nuclear, radiological, chemical and biological security and response.

13) Steve provided workshops and training courses for the physical protection of nuclear

   facilities for the Department of Energy, National Nuclear Security Administration,

   International Nuclear Security, and the International Atomic Energy Agency, in the US

   and in numerous countries.

14) Steve’s areas of expertise are tactical operations, response force training,

   nuclear/radiological security of fixed and transportation assets. He is an expert in the use

   of tabletop exercises for response training, data collection and physical security for fixed

   and mobile security high-risk assets.

15) Steve conducted ballistic testing for SNL and other governmental agencies and was party

   to numerous lab directed research and development projects (LDRD) which resulted in

   further research and patents.

16) Other areas of expertise include firearms instruction, security response training, tactical

   response, Live-Fire Shoot House (LFSH) training, lethal/less lethal response, critical

   incident response, tabletop exercises, procedure development and various police/security

   officer survival techniques. He is a Master level certified instructor through the

   DOE/National Training Center and specializes in advanced tactical management, critical
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       incident management, SWAT (SPO-III), hazardous material tactical response, mobile

       field force, firearms instruction, criminal investigations, rappel master, first line

       supervision, electronic surveillance operations, and police civil liability.

   17) Steve is retired from the Albuquerque Police Department, where he led and supervised

       hundreds of high-risk tactical events to include hostage resolutions, high risk search

       warrants, armed/violent offenders, demonstrator, and riot control. He served as the

       supervisor of the SWAT Team for over 8 years and was a detective in the Special

       Investigative Department/Repeat Offender Project. Steve has more than 30 years of

       experience in training state, local and federal law-enforcement personnel and has worked

       part time for the DOE National Training Center and the U.S. Department of State. Steve

       is also a veteran of the United States Air Force.




Dated: September 6, 2022              RESPECTFULLY SUBMITTED
                                      KENNETH HARRELSON, By Counsel
                                      /s/ Brad Geyer

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on September 6, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
                                      Bradford L. Geyer, PHV
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